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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 8:06CR243-004

                                                         USM Number 21032-047

JARROD MAXWELL
                       Defendant
                                                         JESSICA L. MILBURN

                                                         Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Standard Condition #2 and Special Condition #7
of the term of supervision.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offenses:

                                                                                Date Violation
 Violation Number                     Nature of Violation                        Concluded


 1                    Offender failed to submit monthly reports                   May 2009

 3                    Offender failed to report for drug testing                  May 2009

The Defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegation 2 of the Petition is dismissed on the motion of the United States as to this Defendant
only.


IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                    Date of Imposition of Sentence:
                                                                               September 16, 2009

                                                                       s/Laurie Smith Camp
                                                                       United States District Judge

                                                                       September 16, 2009
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Defendant: JARROD MAXWELL                                                                  Page 2 of 4
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 12 months and one day with no supervision to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

2.      That the Defendant be incarcerated in a federal facility as close to Minnesota as possible.

3.      Defendant shall be given credit for time served.

The Defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                            RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                       __________________________________
                                                              UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______

                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                   By:__________________________________
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Defendant: JARROD MAXWELL                                                                            Page 3 of 4
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                               CRIMINAL MONETARY PENALTIES
       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                       Total Restitution
   $100.00 (balance due                                                 $25,901.85
            $25.00)
The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.
                                                   FINE
          No fine imposed.

                                              RESTITUTION
       The Court gives notice that this case involves other Defendants who may be held jointly and
severally liable for payment of all or part of the restitution ordered herein and may order such
payment in the future.

         Restitution in the amount of $25,901.85 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below. Balance due as of September 16,
2009 is $25,823.52.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                        Priority Order
                                **Total Amount               Amount of                  or Percentage
     Name of Payee                  of Loss              Restitution Ordered             of Payment

 Union Pacifica                     $2,495.00                  $2,495.00                  Priority
 Streamliner Credit                                                                Order/Percentage
 Union

 St. Paul's Travelers               $9,783.24                  $9,783.24                  Priority
                                                                                   Order/Percentage

 U.S. Bank                          $3,274.61                  $3,274.61                  Priority
                                                                                   Order/Percentage

 1st National Bank of               $3,643.00                  $3,643.00                  Priority
 Omaha                                                                             Order/Percentage

 Bank of the West                   $2,341.00                  $2,341.00                  Priority
                                                                                   Order/Percentage

 U.S. Bank                           $4,365                      $4,365                   Priority
                                                                                   Order/Percentage

 Totals                            $25,901.85                 $25,901.85


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                     SCHEDULE OF PAYMENTS
The Defendant shall pay the special assessment in the amount of $100.00. Balance due is $25.00.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the Defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $75 or 4% of the Defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the Defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the Defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Restitution in the amount of $21,536.85, shall be paid jointly and severally by Jarrod Maxwell and
Anthony Davis; and that restitution in the total amount of $4,365, shall be paid jointly and severally
by Jarrod Maxwell, Anthony Davis, and Deidre Vaughn
CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK
By ______________________________________Deputy Clerk
